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                                                          U.S. Department of Justice

                                                          National Security Division


  Counterintelligence and Export Control Section          Washington, D.C. 20530


                                                          October 12, 2022

  By ECF and Courtesy Copy

  Judge Raymond J. Dearie
  United States District Court
   Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11202

  Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
            Spreadsheet with Bates and Box Numbers

  Dear Judge Dearie:

  Pursuant to Judge Cannon’s order (ECF 125, at 3), attached please find the “electronic
  spreadsheet that correlates the Bates numbers of each document with the pertinent item number
  (box or container number) in the Revised Detailed Property Inventory.” ECF 125, at 3.

  The government has provided Plaintiff and the Special Master access to electronic copies of the
  Seized Materials (excluding filter materials and documents with classification markings) and will
  file the Notice of Completion later this afternoon. See ECF 125, at 3-4.

  Thank you for your consideration.
                                                   Respectfully submitted,


                                                   JUAN ANTONIO GONZALEZ
                                                   UNITED STATES ATTORNEY

                                                   MATTHEW G. OLSEN
                                                   Assistant Attorney General

                                                   By:    /s/
                                                   JAY I. BRATT
                                                    Chief
                                                   JULIE EDELSTEIN
                                                    Deputy Chief
                                                   STEPHEN MARZEN
                                                    Trial Attorney
                                                   Counterintelligence and Export Control Section
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                                       National Security Division
                                       Department of Justice

  Attachment: SM_MAL Bates & Item Number Report




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 12, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/    Julie A. Edelstein
                                           Julie A. Edelstein
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